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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION


                                                            Action No: 3:17CV00072
   Elizabeth Sines, et al                                   Date: 3/18/2019
   vs.                                                      Judge: Joel C. Hoppe, USMJ
                                                            Court Reporter: H. Wheeler/FTR
   Jason Kessler, et al
                                                            Deputy Clerk: Heidi N. Wheeler



   Plaintiff Attorney(s)                            Defendant Attorney(s)
   Michael Bloch (Gabrielle Tenzer )                James Kolenich
   Jessica Phillips                                 John DiNucci
   David Milles                                     Bryan Jones
   Roberta Kaplan                                   Jeff Schoep
                                                    James Stern
                                                    Edward ReBrook
                                                    Mr. Vincennes



                                      LIST OF WITNESSES

   PLAINTIFF/GOVERNMENT:                             DEFENDANT:
   1.




  PROCEEDINGS:
  TELEPHONIC DISCOVERY AND STATUS HEARING 4:08-5:00=52 MIN

  Parties appearing by telephone conference to address attorney status issues.

  Deadlines for obtaining counsel ran today, these issues addressed.

  Discovery issues discussed.

  Status conference/call to be set in next two weeks.

  Order will issue.
